Case 2:Ol-cv-02564-SHI\/| Document 74 Filed 06/02/05 Page 1 of 7 Page|D 149

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FoR THE wEsTERN DISTRICT oF TENNESSEE 05 iii _, /_
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MARK W. BRYAN,
Petitioner,

vs. No. 01-2564-Ma

WAYNE BRANDON,

Respondent.

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ORDER CORRECTING THE DOCKET
ORDER SCHEDULING DETENTION HEARING
AND
ORDER DIRECTING PETITIONER TO APPLY FOR
A CERTIFICATE OF APPEALABILITY

 

Mark W. Bryan, through counsel, filed his original
petition pursuant to 28 U.S.C. § 2254 on June 25, 2001. The Court
issued an order on February 17, 2004 granting summary judgment to
respondent on the second and third claims in the petition, denying
summary judgment to respondent on the first claim (“claim one”) on
the basis of petitioner’s purported procedural default, and
directing the parties to file summary judgment motions on the
merits of claim one. On March 31, 2005, the Court issued an order
granting summary judgment to petitioner on claim one and granting

an unconditional writ a habeas corpus. Respondent filed a notice

This document entered on the docket she t rnécomphance
with Rule 58 and/or 79(3) FRCP on §§ §§ “_ " 2

 

Case 2:01-cv-02564-SH|\/| Document 74 Filed 06/02/05 Page 2 of 7 Page|D 150

of appeal on May 2, 2005, and petitioner filed a notice of crossn
appeal on May 10, 2005.

On April 29, 2005, respondent filed a motion seeking a
stay of the March 31, 2005 order pending resolution of the appeal.
On May 10, 2005, petitioner, through counsel, filed a motion for
release pending appeal. That motion also constituted petitioner’s
response to respondent's motion.

As a preliminary matter, the prisoner is currently
incarcerated at the Turney Center Industrial Prison and Farm
(“TCIP”) in Only, Tennessee. The Clerk is ORDERED to substitute
Wayne Brandon, the warden of the TCIP, as the respondent to this
proceeding and to terminate John Malcolm Davis.

Respondent's motion for a stay, and the petitioner's
motion for release, are governed by Rule 23(c) of the Federal Rules
of Appellate Procedure, which provides:

Release Pending'Review'of'Decision Ordering'Release.

While a decision ordering the release of a prisoner is
under review, the prisoner must-unless the court or judge
rendering the decision, or the court of appeals, or the
Supreme Court, or judge or justice of either court
orders otherwise~be released on personal recognizance,
with or without surety.
“LA] court has broad discretion in conditioning a judgment granting
habeas relief.” Hilton v. Bruanskill, 481 U.S. 770, 775 (1987).
“Rule 23(c) undoubtedly creates a presumption of release from

custody in such cases, but that presumption may be overcome if the

judge rendering the decision, or an appellate court or judge,

Case 2:01-cv-02564-SH|\/| Document 74 Filed 06/02/05 Page 3 of 7 Page|D 151

‘otherwise orders.'” Id. at 774 (footnote omitted). The factors

relevant to a stay application are:

(1) whether the stay applicant has made a strong showing

that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding;

and (4) where the public interest lies.
ld; at 776. The presumption in favor of release “may be overcome
if the traditional stay factors tip the balance against it.” ld;
ln making that evaluation, the Court is authorized to consider
whether the petitioner presents a flight risk, the danger to the
public posed by the petitioner, and the State's interest in
continuing custody and rehabilitation of the petitioner. ida at
777-79.

The Court is unable to decide the pending motions on the
basis of the parties’ submissions. Therefore, the Court will hold
a detention hearing on Friday, duly l, 2005, at 2:30 p.m. The Clerk
is ORDERED to issue a writ ensuring the petitioner's attendance at
that hearing. The parties are directed to present any evidence they
have relevant to whether petitioner’s release should be stayed
pending appeal. The parties should also be prepared to address the
amount of bond, if any, and other conditions of release that should
be imposed.

Any prisoner seeking to appeal an adverse decision on a

§ 2254 petition must first obtain a certificate of appealability

Case 2:01-cv-02564-SH|\/| Document 74 Filed 06/02/05 Page 4 of 7 Page|D 152

fronl the district court, pursuant to 28 U.S.C. § 2253, which

provides as follows:

(l) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(l) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, l073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA).
No § 2255 movant may appeal without this certificate.1

In Slack v. McDaniel, 529 U.S. 473, 483~84 (2000),r the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether

(or, for that matter,r agree that} the petition should have been

resolved in a different manner or that the issues presented were

 

1 “A certificate of appealability is not required when a state or its

representative or the United States or its representative appeals.” Fed. R. App.
P. 22(b)(3}.

‘adequate to deserve encouragement to proceed further.'” Slack, 529

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Case 2:01-cv-02564-SH|\/| Document 74 Filed 06/02/05 Page 5 of 7 Page|D 153

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at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court has cautioned against undue limitations

on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of
a COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. lt is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,

463 U.S. at 893). Thus,

A.prisoner seeking a COA must prove “‘something more
than the absence of frivolity'” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
lndeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

ld. at 338

(quoting Barefoot, 463 U.S. at 893); see also id. at 342

 

(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

Case 2:01-cv-02564-SH|\/| Document 74 Filed 06/02/05 Page 6 of 7 Page|D 154

debatability of the underlying constitutional claim, not the
resolution of that debate.").2

The Sixth Circuit has cautioned district courts against
granting or denying certificates of appealability' without the
individualized determination of particular issues required by
§lagk. Murphy v. Ohio, 263 F.3d 466 (6th Cir. 2001); Porterfield
v. Bell, 258 F.3d 484 (6th Cir. 2001). Moreover, in Murphy the
Sixth Circuit suggested that it was improper for the district court
to deny a certificate of appealability before the petitioner had
applied for one. Murphy, 263 F.3d at 466. Accordingly, the Court
ORDERS the petitioner to apply for a certificate of appealability
within thirty days of the entry of this order and to support his
application with an appropriate brief. Respondent may submit a

brief in opposition thirty days after the filing of petitioner's

 

 

brief.
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IT IS SO ORDERED this day of June, 2005.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
2 By the same token, the Supreme Court also emphasized that “[o]ur

holding should not be misconstrued as directing that a COA always must issue.”
Id. at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:0]-CV-02564 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Elizabeth Marney

OFFICE OF THE ATTORNEY GENERAL
425 Fifth Avenue, N

2nd Floor

Nashville, TN 37243--049

M. Kay Gartrell

KIRSCHNER & GARTRELL, PC
4910 Mass Ave., NW

Ste. 21 5

Washington, DC 20016

Brett B. Stein
FINLEY & STEIN
236 Adams Avenue
l\/lemphis7 TN 38103

Richard Kirschner

KIRSCHNER & GARTRELL, PC
4910 Mass Ave., NW

Ste. 21 5

Washington, DC 20016

Honorable Samuel Mays
US DISTRICT COURT

